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                          EXHIBIT 3
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John Yin

From:                Denver Gingerich <denver@sfconservancy.org>
Sent:                Thursday, November 1, 2018 4:21 PM
To:                  Aaron Fennimore
Cc:                  Jerry C. Huang; Karen Sandler
Subject:             Re: Copyright Infringement by D24f-F1 Television and XR6P Tablet



Hi Aaron,

Thanks very much for getting back to me. While we do appreciate you working on the procedure for delivering source
code to your customers, we highly recommend that the CCS candidate you intend to ship to them is sent to us right now,
since we normally find that the CCS candidate does not meet the license requirements on the first try, even from the
most well‐intentioned companies.

Sending us the CCS candidate now will allow you to more quickly achieve GPL compliance, as we can work through the
issues with it while you concurrently implement the necessary steps to publish the candidate once we've confirmed that
it meets the GPL's requirements (i.e. the source code must include all of "the scripts used to control compilation and
installation of the executable", among the other requirements).

Also, allowing us to review the CCS candidate now instead of later gives you a better chance of implementing corrections
into your upcoming products before they are released, making it less likely that Vizio will release additional copyright‐
infringing products.

Please send us the CCS candidate so that we can start reviewing it now and sending you corrections as we find them.
Thanks for your attention to this.

Denver


On 01/11/18 03:56 PM, Aaron Fennimore wrote:
> Hi Denver,
>
> Apologies for the delay in response. I was out of the office when your last message came in, and I'm afraid the email
got buried. First, we are still working with all internal stakeholders to put in place a new process that we believe will
satisfy the concerns you raised. As you might imagine, Q4 for a consumer electronics company is an extraordinarily busy
time. At the same time, we are discussing plans for upcoming launches, and this issue remains a part of those
discussions. Second, it's not my recollection that we agreed to send you a CCS candidate. Instead, we discussed that we
would take the time necessary to institute a process for offering code and then discuss that process with you. I will ask
about a candidate, but I'm not sure I understand why it would be necessary to provide a candidate now for your review.
>
> Regards,
> ‐Aaron
>
> On 11/1/18, 1:42 PM, "Denver Gingerich" <denver@sfconservancy.org> wrote:
>
> Hi Aaron,
>
> We still haven't heard back from you and we're becoming quite concerned
> about the time it's taking to provide us with a CCS candidate. Could
> you please send us an update on where it's at by the end of this week?
> Thanks!

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>
>   Denver
>
>
>   On 18/10/18 09:58 AM, Denver Gingerich wrote:
>   > Hi Aaron,
>   >
>   > Thanks again for discussing this copyright infringement matter on the
>   > phone with us in September. We felt our concerns were understood.
>   >
>   > However, we haven't received any word back in over a month now. Could
>   > you please provide us with an update on where you are at with the
>   > complete corresponding source (CCS) candidate you agreed to send us?
>   >
>   > We appreciate you looking into this at your earliest convenience and are
>   > looking forward to your prompt reply.
>   >
>   > Denver
>   >
>   >
>   > On 28/08/18 05:19 PM, Denver Gingerich wrote:
>   >> Hi Aaron,
>   >>
>   >> Thanks very much. We'll call in there September 10 at 10:30 Pacific.
>   >>
>   >> Denver
>   >>
>   >>
>   >> On 28/08/18 08:12 PM, Aaron Fennimore wrote:
>   >>> Let's use the following dial‐in information:
>   >>>
>   >>> Dial‐in Number: (712) 454‐1162
>   >>> Conference ID: 66621500
>   >>>
>   >>> Regards,
>   >>> ‐Aaron
>   >>>
>   >>> On 8/28/18, 8:56 AM, "Denver Gingerich" <denver@sfconservancy.org>
>   >>> wrote:
>   >>>
>   >>> Hi Aaron,
>   >>> That sounds good ‐ we'll be ready for the call then.
>   >>> Did you want to send us call‐in details? Or would you rather use
>   >>> Conservancy's conference bridge? We're fine either way.
>   >>> Denver
>   >>> On 27/08/18 08:11 PM, Aaron Fennimore wrote:
>   >>> > Thanks, Denver. Let's set the call for Monday, September 10 at
>   >>> 10:30 am Pacific time.
>   >>> >
>   >>> > Kind regards,
>   >>> > ‐Aaron
>   >>> >

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>   >>> > On 8/27/18, 11:50 AM, "Denver Gingerich"
>   >>> <denver@sfconservancy.org> wrote:
>   >>> >
>   >>> > Hi Aaron,
>   >>> >
>   >>> > We are available for a call the following days any time
>   >>> before 4pm
>   >>> > Pacific Time:
>   >>> >
>   >>> > * Friday, September 7
>   >>> > * Monday, September 10
>   >>> > * Tuesday, September 11
>   >>> > * Friday, September 14
>   >>> >
>   >>> > Let us know a time on one of those days that works and
>   >>> we'll join you
>   >>> > then. Thanks!
>   >>> >
>   >>> > Denver
>   >>> >
>   >>> >
>   >>> > On 24/08/18 01:25 PM, Aaron Fennimore wrote:
>   >>> > > Hi Denver,
>   >>> > >
>   >>> > > Thanks for your response. Bill Baxter is out of the
>   >>> office this week, as am I. Moreover, given the nature of original
>   >>> letter, we would prefer to have an initial call between counsel.
>   >>> While whatever changes the Conservancy feels are necessary may be
>   >>> technical, the VIZIO legal department first needs to understand the
>   >>> Conservancy's position more fully so it can properly advise on any
>   >>> changes.
>   >>> > >
>   >>> > > VIZIO has always had a commitment to meeting its
>   >>> obligations with respect to the use and distribution of open source
>   >>> software. We intend to continue that by appropriate means. We also
>   >>> understand the Conservancy is committed to the Principles of
>   >>> Community‐Oriented GPL Enforcement, so we look forward to a
>   >>> productive discussion regarding its concerns and possible next steps.
>   >>> > >
>   >>> > > Please let me know what times are available for a call.
>   >>> > >
>   >>> > > Thanks and regards,
>   >>> > > ‐Aaron
>   >>> > >
>   >>> > > On 8/21/18, 11:43 AM, "Denver Gingerich"
>   >>> <denver@sfconservancy.org> wrote:
>   >>> > >
>   >>> > > Dear A. Fennimore:
>   >>> > >
>   >>> > > For a call with laywers, I would prefer to have
>   >>> counsel present on our
>   >>> > > side. Counsel is not available until the week

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>   >>> after next, but I'm happy
>   >>> > > to schedule a time for then. I can provide some
>   >>> availability then once
>   >>> > > you confirm that week is generally ok for you.
>   >>> > >
>   >>> > > If you like, I can speak with Vizio's CTO or other
>   >>> individuals familiar
>   >>> > > with the software development done on Vizio's
>   >>> products in the meantime
>   >>> > > on a call with no lawyers. This would help us
>   >>> speed up the compliance
>   >>> > > process as the changes Vizio needs to make are
>   >>> primarily technical in
>   >>> > > nature and so will require conversations at this
>   >>> level eventually
>   >>> > > anyway. I'm available this Thursday (August 23)
>   >>> during Pacific Time
>   >>> > > business hours for such a call if you'd like to
>   >>> arrange that (or I can
>   >>> > > email Bill Baxter directly if that's better).
>   >>> > >
>   >>> > > Let me know if you have any questions. Thanks!
>   >>> > >
>   >>> > > Denver
>   >>> > >
>   >>> > >
>   >>> > > On 20/08/18 07:45 PM, Aaron Fennimore wrote:
>   >>> > > > Dear Mr. Gingerich,
>   >>> > > >
>   >>> > > > Further to my email below, I would like to
>   >>> arrange a time to discuss
>   >>> > > > this matter with you by phone. I am traveling
>   >>> for the remainder of this
>   >>> > > > week, but perhaps we can set some time early
>   >>> next week. Please let me
>   >>> > > > know your availability.
>   >>> > > >
>   >>> > > > Regards,
>   >>> > > >
>   >>> > > > ‐Aaron
>   >>> > > >
>   >>> > > > *From: *Aaron Fennimore <Aaron.Fennimore@vizio.com>
>   >>> > > > *Date: *Thursday, August 9, 2018 at 4:30 PM
>   >>> > > > *To: *"denver@sfconservancy.org"
>   >>> <denver@sfconservancy.org>
>   >>> > > > *Cc: *"Jerry C. Huang" <jerry.huang@vizio.com>
>   >>> > > > *Subject: *Re: Copyright Infringement by D24f‐F1
>   >>> Television and XR6P Tablet
>   >>> > > >
>   >>> > > > Dear Mr. Gingerich,
>   >>> > > >
>   >>> > > > Please see the attached letter of today’s date.

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>   >>> We will be back in touch
>   >>> > > > with you soon.
>   >>> > > >
>   >>> > > > Kind regards,
>   >>> > > > ‐Aaron
>   >>> > > >
>   >>> > > >
>   >>> > > > Begin forwarded message:
>   >>> > > >
>   >>> > > > *From:* Denver Gingerich
>   >>> <denver@sfconservancy.org
>   >>> > > > <mailto:denver@sfconservancy.org>>
>   >>> > > > *Date:* August 7, 2018 at 3:38:45 PM PDT
>   >>> > > > *To:* Jerry Huang <jerry.huang@vizio.com
>   >>> <mailto:jerry.huang@vizio.com>>
>   >>> > > > *Cc:* Karen Sandler <karen@sfconservancy.org
>   >>> > > > <mailto:karen@sfconservancy.org>>
>   >>> > > > *Subject:* *Copyright Infringement by
>   >>> D24f‐F1 Television and XR6P
>   >>> > > > Tablet*
>   >>> > > >
>   >>> > > > Dear Jerry Huang:
>   >>> > > >
>   >>> > > > Please see the attached letter, also sent to
>   >>> you today via UPS,
>   >>> > > > which outlines copyright infringements by
>   >>> Vizio's D24f‐F1 television
>   >>> > > > and XR6P tablet. These products appear to
>   >>> infringe the copyrights
>   >>> > > > of both Software Freedom Conservancy and
>   >>> other copyright holders for
>   >>> > > > whom Conservancy serves as copyright
>   >>> enforcement agent.
>   >>> > > >
>   >>> > > > As noted in the letter, please get in
>   >>> contact with me immediately on
>   >>> > > > this matter so that we can further discuss
>   >>> plans for bringing your
>   >>> > > > products into compliance.
>   >>> > > >
>   >>> > > > We look forward to your timely response.
>   >>> > > >
>   >>> > > > Sincerely,
>   >>> > > >
>   >>> > > > Denver Gingerich
>   >>> > > > Software Freedom Conservancy
>   >>> > > > 137 Montague St STE 380
>   >>> > > > Brooklyn, NY 11201‐3548
>   >>> > > > USA
>   >>> > > >
>   >>> > >
>   >>> > >

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>   >>>   >
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>   >>>   >
>   >>>
>
>
>




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